                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                     KNOXVILLE DIVISION

      ANDREW JOSTEN LOVINGOOD,                        )
                                                      )
                   Plaintiff,                         )              3:19-CV-00009-DCLC
                                                      )
           vs.                                        )
                                                      )
      DERRICK GRAVES                                  )
      and BILL JOHNSON,                               )
                                                      )
                   Defendants                         )


                                                ORDER

           On July 9, 2021, the parties filed a Joint Motion to Continue Trial Date [Doc. 58]. Trial in

  this case is currently set for August 24, 2021. Counsel for Plaintiff states that he currently has a

  criminal trial scheduled before the undersigned on August 10, 2021, and he “will not be able to

  prepare the Lovingood matter for trial with less than two weeks between these trial dates.” [Id. at

  pg. 1]. Previously on January 21, 2021, the Court continued this case because of an unavoidable

  scheduling conflict that Plaintiff’s counsel represented existed with another federal case that

  prevented this Court from proceeding as scheduled.1 See [Doc. 54]. The criminal case was last

  continued on March 19, 2021. See United States v. Charles Wallace, 2:19-CR-00151, [Doc. 447]

  (E.D. Tenn. Mar. 19, 2021). Counsel for Plaintiff has known of the timeframe between the two

  cases for almost four months. Further, this case has been pending for over two and a half years,

  since January 5, 2019. Therefore, while the Court is sympathetic to the passing of Plaintiff’s father




  1
        As it turns out, the conflicting case was also continued the day after. See Adams v. Blount
  County, et al., No. 3:17-CV-313-KAC-DCP, [Doc. 212] (E.D. Tenn. Jan. 22, 2021).


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  in May, counsel for Plaintiff has not demonstrated good cause for a continuance of the trial date

  in this case.

          The motion also notes that “[c]ounsel for Defendant Johnson currently has a matter

  scheduled for trial the week of August 24, 2021 in the Eastern District Court of Tennessee. See

  Roysdon v. Morgan County et al.” [Doc. 58, pgs. 1-2]. However, the motion does not give any

  other identifying information for this case, and the Court is unable to find this case, or any other

  case with Mr. Knight, set for trial on August 24 in the federal court of the Eastern District of

  Tennessee.

          Therefore, the motion [Doc. 58] is DENIED. To accommodate the criminal trial, the Court

  shall RESET the Final Pretrial Conference from August 10, 2021 to August 17, 2021, at 1:30

  p.m. The trial shall remain set for August 24, 2021.

          SO ORDERED:




                                                s/ Clifton L. Corker
                                                United States District Judge




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